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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   DAVID J. LORENZO,                          Civil Action No.

                Plaintiff,                    23-cv-21849 (CCC) (JRA)

                v.                            FOURTH AMENDED
                                              SCHEDULING ORDER
   THE BOROUGH OF PALISADES
   PARK, NEW JERSEY, et al.,

                Defendants.


       THIS MATTER having come before the Court by way of the parties’ joint

 letter dated March 20, 2025 (ECF No. 53), and the status conference on March 27,

 2025, seeking an extension to the time to complete discovery, and for good cause

 shown,

       IT IS, on this 27th day of March 2025, ORDERED that:

    1. Fact discovery is extended through July 31, 2025. No fact discovery shall be

       issued or engaged in beyond that date, except upon application to this Court

       and for good cause shown.

    2. Discovery disputes (other than those arising during depositions) shall be

       brought to the Court’s attention no later than June 30, 2025. The Court will

       not consider any discovery dispute (other than those arising during

       depositions) brought to its attention after this date.
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    3. All affirmative expert reports shall be delivered by September 30, 2025. Any

       such report shall comport with the form and content requirements of Fed. R.

       Civ. P. 26(a)(2)(B).

    4. All responding expert reports shall be delivered by October 31, 2025. Any

       such report shall comport with the form and content requirements referenced

       above.

    5. Expert discovery, including the depositions of any expert witnesses, shall be

       completed on or before December 15, 2025.




                                HON. JOSÉ R. ALMONTE
                                UNITED STATES MAGISTRATE JUDGE




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